      Case 2:17-cv-03826-DLR Document 132 Filed 06/30/20 Page 1 of 2




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 8
                            UNITED STATES DISTRICT COURT
 9
                             FOR THE DISTRICT OF ARIZONA
10
11   Montiah Chatman, individually and on        Case No: 17-cv-03826-PHX-DLR
     behalf of her two minor children, J.L.C.
12   and E.V.T.P.,                                       NOTICE OF SERVICE
                                                                 OF
13                       Plaintiffs,                     OFFER OF JUDGMENT
14   vs.
15   Marci D. Ferrell, Cindy Chrisman and
     John Sullivan,
16
                         Defendants.
17
18         Defendants Ferrell, Chrisman and Sullivan (“State Defendants”), through
19   undersigned counsel give notice that pursuant to Rule 68, Federal Rules of Civil
20   Procedure, an Offer of Judgment was served via first class mail and email on June 30,
21   2020 to the following address:
22
           Martin A. Bihn
23         Donna M. McDaniel
24         Bihn & McDaniel, P.L.C.
           2600 North Central Avenue, Suite 1775
25         Phoenix, Arizona 85004
           mbihn@phxlegal.com
26
27
28
      Case 2:17-cv-03826-DLR Document 132 Filed 06/30/20 Page 2 of 2




 1
 2
                Respectfully submitted this 29th day of June, 2020.
 3
                                                         Mark Brnovich
 4                                                       Attorney General

 5
                                                         /s/ Cynthia Starkey
 6                                                       Cynthia D. Starkey
                                                         Timothy Watson
 7                                                       Assistant Attorneys General
                                                         Attorneys for the State Defendants
 8
 9
10   Original of the foregoing electronically
     filed this 30th day of June, 2020, with:
11
12   Clerk of the United States District Court
     using the CM/ECF System for filing and
13   Transmittal of a Notice of Electronic Filing
     to the following registrants:
14
15   Martin A. Bihn
     Donna M. McDaniel
16   Bihn & McDaniel, P.L.C.
17   2600 North Central Avenue, Suite 1775
     Phoenix, Arizona 85004
18   Attorneys for Plaintiffs
19
                  _
20   Copy of the foregoing emailed this 30th day of June , 2020, to:
21   Honorable Douglas L. Rayes
     U.S. District Court of Arizona
22   Rayes_chambers@azd.usacourts.gov
23
24   /s/   J. Navarro
25   Legal Secretary to AAG Cindy Starkey
     #8807961
26
27
28


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